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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NORTH CAROLINA
__ DIVISION

Fill in this information to identify vour case:

 

 

 

 

 

Debtor 1 Mahmound Badi Hourani
First Name Middle Name Last Name
Debtor 2 Khaoula Hourani
(Spouse, if filing) First Name Middle Name Last Name
[¥] Check if this is an amended plan, and
list below the sections of the plan that
have been changed.
3.1 - Post-Petition Arrears Payment
Case number: 19-04262-5
(if known)

 

 

CHAPTER 13 PLAN

wiv bam) Notices

 

Definitions: Definitions of several terms used in this Plan appear online at https://www.nceb.uscourts.gov/local-forms under the heading
“Chapter 13 Plan Definitions.” These definitions also are published in the Administrative Guide to Practice and Procedure for the
United States Bankruptcy Court for the Eastern District of North Carolina.

To Debtor(s): This form sets out options that may be appropriate in some cases, but the presence of an option on this form does not indicate that
the option is appropriate in your circumstances. Plans that do not comply with Local Rules and judicial rulings may not be
confirmable.

To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated if the plan is confirmed.

You should read this plan carefully and discuss it with your attorney if you have an attorney in this bankruptcy case. If you do
not have an attorney, you may wish to consult one.

If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the United States
Bankruptcy Court for the Eastern District of North Carolina (“Court”). The Court may confirm this plan without further
notice if no objection to confirmation is filed. In addition, you may need to file a timely proof of claim in order to be paid
under any confirmed plan.

Only allowed claims will receive a distribution from the Trustee, and all payments made to creditors by the Trustee shall be made
in accordance with the Trustee’s customary distribution process. When required, pre-confirmation adequate protection payments
shall be paid in accordance with Local Rule 3070-1(c). Unless otherwise ordered by the Court, creditors not entitled to adequate
protection payment will receive no disbursements from the Trustee until after the plan is confirmed.

The following matters may be of particular importance to you. Debtors must check one box on each line of §§ 1.1, 1.2, and 1.3,
below, to state whether or not the plan includes provisions related to each item listed. If an item is checked “Not Included,” or
if neither box is checked, or if both boxes are checked, the provision will not be effective, even if set out later in the plan.

 

LJ A limit on the amount of a secured claim, set out in Section 3.3, which may result in a [_] Included [¥] Not Included
secured claim being treated as only partially secured or wholly unsecured. This could
result in the secured creditor receiving only partial payment, or no payment

 

 

12 Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set [_] Included [¥] Not Included
out in Section 3.5.
1.3 Nonstandard provisions, set out in Part 8. [] Included [¥] Not Included

 

 

 

 

 

 

Plan Payments and Length of Plan
2.1 The Debtor(s) shall make regular payments to the Trustee as follows:
$__ 65.00  per_ Month for__37__ months

 

(Insert additional line(s), if needed.)

2.2. Additional payments. (Check one.)

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Debtor Mahmound Badi Hourani Case number 19-04262-5
Khaoula Hourani

 

lv] None. (if “None” is checked, the rest of this section need not be completed.)
[_] The Debtor(s) will make additional payment(s) to the Trustee from other sources, as specified below. Describe the source,
estimated amount, and date of each anticipated payment. (/nsert additional rows, if needed.)

 

2.3 The total amount of estimated payments to the Trustee is$__2,405.00__.

2.4 Adjustments to the Payment Schedule/Base Plan (Check one).

[¥| None.

[-] Confirmation of this plan shall not prevent an adjustment to the plan payment schedule or plan base. The Trustee or the Debtor(s)
may seek to modify the plan payment schedule and/or plan base within 60 days after the governmental bar date to accommodate secured
or priority claims treated in Parts 3 or 4 of this Plan. This provision shall not preclude the Debtor or the Trustee from opposing
modification after confirmation on any other basis.

2.5 Applicable Commitment Period, Projected Disposable Income, and “Liquidation Test.”
The Applicable Commitment Period of the Debtor(s) is 36 months, and the projected disposable income of the Debtor(s), as referenced in 11
U.S.C. § 1325(b)(1)(B), is $__0.00 per month. The chapter 7 “liquidation value” of the estate of the Debtor(s), as referenced in 11 U.S.C. §
1325(a)(4), refers to the amount that is estimates to be paid to holders of non-priority unsecured claims. In this case, this amount is $__0.00

Treatment of Secured Claims

3.1 Lien Retention.
The holder of each allowed secured claim provided for below will retain the lien on the property interest of the Debtor(s) or the estate until the
earlier of:
(a) payment of the underlying debt determined under nonbankruptcy law, or
(b) discharge of the Debtor(s) under 11 U.S.C. § 1328.

3.2. Maintenance of Payments and Cure of Default (if any) (Check one.)

[_] None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

[¥] The current contractual installment payments will be maintained on the secured claims listed below, with any changes required by the
applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either by the Trustee
(“Conduit”) or directly by the Debtor(s), as specified below. Any post-petition arrearage listed for a claim below will be paid in full
directly by the Debtors. Unless otherwise ordered by the Court, the amounts listed on a proof of claim filed before the filing deadline
under Bankruptcy Rule 3002(c) will control over any contrary amounts listed below as to the current installment payment and arrearage.
In the absence of a timely filed proof of claim, the amounts stated below are controlling as to the current installment payment and
arrearage. If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless otherwise ordered
by the Court, all payments under this paragraph as to that collateral will cease, and all secured claims based on that collateral will no
longer be paid by the plan.

 

 

Creditor Name Collateral Current Installment Arrears Owed Interest Rate
Payment (if any) on Arrearage
(including escrow) (if appliable)
PennyMac 207 Stonecreek Drive Apex, NC $1,325.00 $0.00 | 0.00%
27539 Wake County To be disbursed by:

BEING all of Lot 99, Sunset Hills |{ | Trustee
Subdivision Phase 1, Section 1, | {y] Debtor(s)
as shown on the plat recorded in
Book of Maps 1997, Page 1103
Wake County Registry.

 

 

 

 

 

 

 

Insert additional claims as needed.

[¥) Other. (Check all that apply, and explain.) The Debtor(s):
(a) [-]_ do intend to seek a mortgage modification with respect to the following loan(s) listed above:

 

(b) [¥] do not intend to seek mortgage modification with respect to the following loan(s) listed above:
(c) [| intend to:

3.3. Request for Valuation of Security and Modification of Undersecured Claims. (Check one)

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Khaoula Hourani

 

[¥) None. /f “None” is checked, the rest of § 3.3 need not be completed or reproduced.
3.4 Claims Excluded from 11 U.S.C. § 506(a). (check one)
[¥] None. /f “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5 Avoidance of Judicial Liens or Nonpossessory, Nonpurchase-Money Security Interests.
(Check one)

lv) None. If “None” is checked, the rest of § 3.5 need nat be completed or reproduced.

3.6 Surrender of Collateral. (Check one.)

{| None. /f “None” is checked, the rest of § 3.6 need not be completed or reproduced.

[¥] The Debtor(s) will surrender the collateral listed below that secures the creditor’s claim. Upon confirmation of the plan, the automatic
stay of 11 U.S.C. § 362(a) shall terminate as to the surrendered collateral and any co-debtor stay of 11 U.S.C. § 1301 shall terminate in all
respects. No claim for a deficiency remaining due after the disposition of surrendered collateral will be allowed or paid unless the
creditor timely files a proof of claim and, within 180 days after confirmation of the plan, amends the claim as necessary to show the
remaining unsecured deficiency after the disposition of the surrendered collateral. Absent such timely filing and amendment of a claim, or
an order by the Court extending the 180-day filing deadline, the surrender of the collateral shall be deemed in full satisfaction of the
Debtor's contractual obligation to the creditor.

 

 

 

 

Creditor Name Collateral
Ford Taurus 198000 miles
Chase Major Transmission Problems

 

 

Insert lines for additional creditors and collateral, as needed.

Treatment of Fees and Priority Claims
4.1 General Treatment: Unless otherwise indicated in this Part or in Part 8, Nonstandard Plan Provisions, the Trustee’s fees and all allowed
priority claims, will be paid in full without interest through Trustee disbursements under the plan.

4.2. Trustee’s Fees: Trustee’s fees are governed by statute and orders entered by the Court and may change during the course of the case. The
Trustee’s fees are estimated to be__ 6.50 _% of amounts disbursed by the Trustee under the plan and are estimated to total $__156.51___.

4.3. Debtor’s Attorney’s Fees. (Check one, below, as appropriate.)

[¥] Debtor(s)’ attorney has agreed to accept as a base fee $__ 2,540.00, of which $__ 2,540.00 __ was paid prior to filing. The
Debtor(s)’ attorney requests that the balance of $__0.00 be paid through the plan.

[| The Debtor(s)! attorney intends to apply or has applied to the Court for compensation for services on a “time and expense” basis, as
provided in Local Rule 2016-1(a)(7). The attorney estimates that the total amount of compensation that will be sought is $ .of
which $. was paid prior to filing. The Debtor(s)’ attorney requests that the estimated balance of $ be paid through the plan.

4.4 Domestic Support Obligations ("DSO's"). (Check all that apply.)
[¥] None. /f “None” is checked, the rest of § 4.4 need not be completed or reproduced.

4.5 Priority Claims Other than Attorney’s Fees and Those Treated in Section 4.4

 

 

 

 

C] None. [f “None” is checked, the rest of § 4.5 need not be completed or reproduced.

[¥] Section 507(a) priority claims, other than attorney’s fees and domestic support obligations are estimated to be as follows:
Creditor Name Claim for: Est. Claim Amt.
Internal Revenue Service $1,736.00
North Carolina Dept. of Revenue $265.04
Wake County Revenue Department $134.00

 

 

 

 

 

eee Unsecured Non-priority Claims

 

5.1 General Treatment. Afier confirmation of a plan, holders of allowed, non-priority unsecured claims that are not specially classified in § 5.2
below, will receive a pro rata distribution with other holders of allowed, non- priority unsecured claims from the higher of either the disposable
income of the Debtor(s) over the applicable commitment period or liquidation test (see paragraph 2.5). Payments will commence after payment
to the holders of allowed secured, arrearage, unsecured priority, administrative, specially classified unsecured claims, and the Trustee’s fees.

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Debtor Mahmound Badi Hourani Case number 19-04262-5
Khaoula Hourani

 

 

Except as may be required by the “disposable income” or “liquidation” tests, or as may otherwise be specifically set forth in this Plan, no
specific distribution to general unsecured creditors is guaranteed under this Plan, and the distribution to such creditors may change depending on
the valuation of secured claims (including arrears) and/or the amounts which will be paid to holders of priority unsecured claims under this Plan.
both of which may differ from the treatment set forth in Parts 3 and 4 of this Plan based on claims filed by secured and priority creditors, or
based on further orders of the Court.

5.2 Co-Debtor and Other Specially Classified Unsecured Claims. (Check one.)
iv] None. If “None” is checked, the rest of Part 5 need not be completed or reproduced.

Executory Contracts and Unexpired Leases

 

6.1 The executory contracts and unexpired leases listed below are to be treated as specified. All other executory
contracts and unexpired leases are rejected. Allowed claims arising from the rejection of executory contracts or
unexpired leases shall be treated as unsecured non-priority claims under Part 5 of this Plan, unless otherwise

ordered by the Court. (Check one.)
[¥] None. /f “None” is checked, the rest of Part 6 need not be completed or reproduced.

Miscellaneous Provisions

 

7.1 Vesting of Property of the Bankruptcy Estate: (Check one.)
Property of the estate will vest in the Debtor(s) upon:
[¥] plan confirmation.
[| discharge

(] _ other:

7.2. Possession and Use of Property of the Bankruptcy Estate: Except as otherwise provided or ordered by the Court, regardless of when property
of the estate vests in the Debtor(s), property not surrendered or delivered to the Trustee (such as payments made to the Trustee under the Plan)
shall remain in the possession and control of the Debtor(s), and the Trustee shall have no liability arising out of, from, or related to such property
or its retention or use by the Debtor(s). The use of property by the Debtor(s) remains subject to the requirements of 11 U.S.C. Ag 363, all other
provisions of the Bankruptcy Code, Bankruptcy Rules, and Local Rules.

 

7.3 Rights of the Debtor(s) and Trustee to Object to Claims: Confirmation of the plan shall not prejudice the right of the Debtor(s) or Trustee to
object to any claim.

7.4 Rights of the Debtor(s) and Trustee to Avoid Liens and Recover Transfers: Confirmation of the plan shall not prejudice any rights the
Trustee or Debtor(s) may have to bring actions to avoid liens, or to avoid and recover transfers, under applicable law.

EEXUESEE Nonstandard Plan Provisions

8.1 Cheek “None” or List Nonstandard Plan Provisions.

iv! None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

Signatures
9.1 Signatures of Debtor(s) and Debtor(s)’ Attorney

If the Debtor(s) do not have an attorney, the Debtor(s) must sign below, otherwise the Debtor(s) signatures are optional. The attorney for
Debtor(s), if any, must sign below.

 

 

 

X fs! Mahmound Badi Hourani X Is! Khaoula Hourani
Mahmound Badi Hourani Khaoula Hourani
Signature of Debtor | Signature of Debtor 2
Executedon April 8, 2020 Executedon April 8, 2020
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Debtor Mahmound Badi Hourani Case number 19-04262-5
Khaoula Hourani

 

 

By signing and filing this decument, the Debtor(s) certify that the wording and order of the provisions in this Chapter 13 plan are identical
to those contained in E.D.N.C. Local Form 113, other than any nonstandard provisions included in Part 8.

X Is! Michael W. Hopper Date April 8, 2020

Michael W. Hopper 38252 MM/DD/YY YY

Signature of Attorney for Debtor(s)
If this document is also signed and filed by an Attorney for Debtor(s), the Attorney also certifies, that the wording and order of the
provisions in this Chapter 13 plan are identical to those contained in E.D.N.C. Local Form 113, other than any nonstandard provisions
included in Part 8.

 

 

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NORTH CAROLINA
RALEIGH DIVISION

IN RE:

MAHMOUND BADI HOURANI 19-04262-5-DMW
KHAOULA HOURANI CHAPTER 13
DEBTORS.

 

NOTICE OF RESCHEDULED CONFIRMATION HEARING
NOTICE IS HEREBY GIVEN that the Debtor’s Confirmation Hearing has been
rescheduled to May 7, 2020 at 10:30 AM in the US Bankruptcy Courthouse located at 300
Fayetteville Street Mall, Raleigh, NC 27604, 3rd Floor Courtroom (Telephonically).

This the 15th day of April 2020.

 

By: /s/ Michael W. Hopper
Michael W. Hopper, PLLC

N.C. State Bar No. 38252

Attorney for Debtor

3434 Edward Mills Road, Ste. 112-391
Raleigh, North Carolina 27612
919.876.3300; 919.809-8853 (Facsimile)

Michael(@hopper.law
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NORTH CAROLINA
RALEIGH DIVISION

IN RE:

MAHMOUND BADI HOURANI 19-04262-5-DMW
KHAOULA HOURANI CHAPTER 13
DEBTORS.

 

CERTIFICATE OF SERVICE

I, Michael W. Hopper, of Michael W. Hopper, PLLC, do hereby certify, under penalty of
perjury, that I am, and at all times hereinafter mentioned, was more than eighteen (18) years of
age,

And that on the 15th day of April 2020, I served a copy of the foregoing Amended
Schedules, Amended Plan, and Notice of Rescheduled Confirmation Hearing, on the following
parties:

 

VIA CM/ECF VIA FIRST CLASS MAIL
John F. Logan Mahmound Badi Hourani
Chapter 13 Trustee Khaoula Hournai

P.O. Box 61039 207 Stone Creek Drive
Raleigh, NC 27661 Apex, NC 27539

 

 

 

 

To the creditors listed on the attached Creditors Matrix.
I certify under penalty of perjury that the foregoing is correct.

This the 15th day of April 2020.

By: /s/ Michael W. Hopper
Michael W. Hopper

Michael W. Hopper, PLLC

N.C. State Bar No. 38252

Attorney for Debtor

3434 Edwards Mill Rd, Suite 112-391
Raleigh, North Carolina 27612
919.876.3300; 919.809.8853 (Facsimile)

Michael@hhm. legal

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Label Matrix for local noticing
0417-5 ‘

Case 19-04262-5-DUN

Eastern District of North Carolina
Raleigh

Wed Apr 15 11:33:49 EDT 2020

AMCOL Systems

PO Box

Columbia, SC 29210

Chase
PO Box 182055
Columbus, OH 43218-2055

Doug McClanahan

3008 Anderson Drive
Suite 170

Raleigh, NC 27609-7787

Ralvey & Associates
1401 Rings Bwy
Winona Lake, IN 46590-1520

Julian $. Draw
5300 Six Forks Rd.
Raleigh, NC 27609~4465

Nevada County California
PO Box 1280
Oaks, PA 19456-1280

North Carolina Dept. of Revenue
Bankruptcy Unit

P.O, Box 1168

Raleigh, NC 27640-0001

Prenier Bankcard, Lle

Jefferson Capital Systems LIC Assignee
Po Box 7999

Saint Cloud Mn 56302-7999

Robert J. Bernhardt
Bernhardt and Strawser, P.A.
5821 Fairview Rd. Ste. 100
Charlotte, HC 28209-3829

Ue-sBankruptey Court

300-Fayettevittestrost, ath Floor
2-6-Bor- 791

Raleigh;-NC-27602-0791

Ashley Funding Services, LLC
Resurgent Capital Services
PO Box 10587

Greenville, SC 29603-0587

Creditors Collection Service
PO Box 1280
Oaks, PA 19456-1280

Doug McClanahan
McClanahan Law Firm, PLLC
3008 Anderson Drive
Raleigh, NC 27609-7744

Bunter Warfield

C/O Camden Reunion Park
4620 Woodland Corp. Blvd
Tampa, FL 33614-2415

Lending USA
P.O. Box 206536
Dallas, TX 75390-0001

New School Inc.
5617 Sunset Lake
Rolly Springs, NC 27540-4348

PennyMac
P.O Box 514887
Los Angeles, CA 30051-4387

Radius Glebal Solution
7831 Glenroy Rd. Suite 250
Minneapolis, MN 55439-3117

State Farn
PO Box 44110
Jacksonville, FL 32231-4110

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ars
PO Box 65018
Baltimore, MD 21264-5018

CSP Community Owner, LP dba Camden Reunion P
Robert J. Bernhardt

Bernhardt and Strawser, P.A.

5821 Fairview Rd. Ste. 100

Charlotte, NC 28209-3829

Direct Loans
PO Box 9003
Niagara Falls, WY 14302-3003

First Premier Bank
PO Box 5529
Sioux Falls, SD 57117-5529

Internal Revenue Service
PO BOX 7346
Philadelphia, PA 19101-7346

MOHELA
633 Spirit Drive
Chesterfield, MO 63005-1243

North Carolina Department of Revenue
Bankruptcy Unit

P.O. Box 1168

Raleigh, NC 27602-1168

PennyMac Loan Services, LLC
PennyMac Loan Servicing, LLC
P.O. Box 2410

Noorpark, CA 93020-2410

Raleigh Radiology
PO Box 12408
Roanoke, VA 24025-2408

UNC Health Care
PO Box 1123
Minneapolis, MN 55440-1123
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UNC Healthcare
700 Eastovne
Roxboro, NC 27574

US Department of Education/MOHELA
633 Spirit Dr
Chesterfield, MO 63005-1243

Wake County Revenue Department
P.O. Box 2331
Raleigh, NC 27602-2331

Wake Nedical
PO Box 2090
Morrisville, NC 27560-2090

WakeMed Health and Hospitals
3000 New Bern Ave
Raleigh, NC 27610-1231

201 Stoncereek Drive
; 5392

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UPNC Health Services
PO Box 1123
Minneapolis, MN 55440-1123

Wake County EMS
PO Box 603428
Charlotte, NC 28260-3428

Wake Energency
PO Box 830053
Charlotte, NC 28289-0053

Wake Medical
PO Box 29516
Raleigh, NC 27626-0516

WakeMed Physician Practices
3000 New Bern Ave
Raleigh, NC 27610-1231

UPMC Physician Services
PO Box 1123
Minneapolis, MN 55440-1123

Wake County Human Services
FO Box 14169
Raleigh, NC 27620-4169

Wake Emergency Physicians
8 Oak Park Drive
Bedford, MA 01730-1414

Wake Radiology
FO Box 603435
Charlotte, NC 28260-3435

The following recipients may be/have been bypassed for notica due to an undeliverable (u) or duplicate (d) address.

(u)Collins Asset Group, LLC

(u)PennyMac Loan Services, LLC

End of Label Matrix

Mailable recipients 47
Bypassed recipients 2
Total 45
